Case 2:20-cv-14011-RLR Document 25 Entered on FLSD Docket 11/02/2020 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 2:20-CV-14011-ROSENBERG

  JOHNATHAN SHERWIN,

          Plaintiff,

  v.

  MARTIN COUNTY SHERIFF’S
  OFFICE, ET AL.,

        Defendant.
  _____________________________________/

        ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

          This matter is before the Court upon the Report of Magistrate Judge. DE 24. This matter

  was referred to Magistrate Judge Lisette M. Reid for a Report and Recommendation on any

  dispositive matters. Judge Reid issued the Report of Magistrate Judge on October 14, 2020. DE

  24. Neither party filed objections to the Report and Recommendation. The Court has conducted

  a de novo review of the Report and Recommendation, the objections, and the record, and is

  otherwise fully advised in the premises.

          Upon review, the Court finds Judge Reid’s recommendations to be well reasoned and

  correct. The Court agrees with the analysis in the Report of Magistrate Judge and concludes that

  Plaintiff’s Complaint, DE 1, should be dismissed as impermissible shotgun pleading and for

  failure to state a claim.

          For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

              1. Magistrate Judge Reid’s Report of Magistrate Judge [DE 24] is hereby
                 ADOPTED.

              2. Plaintiff’s Complaint [DE 1] is DISMISSED WITH PREJUDICE.
Case 2:20-cv-14011-RLR Document 25 Entered on FLSD Docket 11/02/2020 Page 2 of 2




             3. The Clerk of the Court is instructed to CLOSE THIS CASE.

          DONE and ORDERED in Chambers, Fort Pierce, Florida, this 30th day of October,

  2020.




                                                  _______________________________
                                                  ROBIN L. ROSENBERG
                                                  UNITED STATES DISTRICT JUDGE
  Copies furnished to Counsel of Record
